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Joseph Lee Matalon
     Partner
                                                                                                      One Dag Hammarskjold
212-909-9675 Tel.
                                                                                                       885 SECOND AVENUE
                                                                                                       NEW YORK NY 10017
JLMatalon@wmllp.com                                   WWW . WMLLP . COM
                                                                                                        MAIN TEL    212 909-9500
                                                                                                        FACSIMILE   212 371-0320




                                                                                  July 19, 2022

 VIA ECF

 The Honorable J. Paul Oetken, U.S.D.J.
 United States Courthouse
 40 Foley Square, Room 2101
 New York, New York 10007

                   Re: Thor 942 Fulton Street, LLC v. Future Transactions Holdings, LLC et al.
                       Civil Action No. 22-cv-05880 (JPO)
 Dear Judge Oetken:

        This firm represents plaintiff Thor 942 Fulton Street, LLC. This letter is respectfully
 submitted pursuant to Part I of your Individual Practice Rules and in compliance with the order
 dated July 14, 2022 (ECF Doc. 9), to explain the basis for diversity jurisdiction. This letter
 should be read in conjunction with the allegations in the Amended Complaint, filed as of right
 pursuant to Fed. R. Civ. P. 15(a)(1)(A).

 Plaintiff’s Citizenship

          Because there are successive layers of limited liability companies, an organization chart
 is attached to this letter. Plaintiff is a Delaware limited liability company. The sole member of
 plaintiff is Thor Design District MM LLC, a Delaware limited liability company. In turn, the
 sole member of Thor Design District MM LLC is DSFT Holdings LLC, a Delaware limited
 liability company. DSFT Holdings is wholly owned by the DSFT 2011 Family Trust.

         The DSFT 2011 Family Trust has three trustees: Isaac J. Sitt, Albert Dayan, and Betty
 Sitt. Isaac J. Sitt and Betty Sitt are New York residents and domiciliaries. Albert Dayan is a
 New Jersey resident and domiciliary. 1 The beneficiaries of the DSFT 2011 Family Trust are the

 1
   The DSFT 2011 Family Trust also has an “administrative trustee” — Christiana Trust, A Division of Wilmington
 Savings Fund Society, FSB — which does not have the powers of a trustee under the trust instrument, and has
 circumscribed duties, limited to maintaining records, bank accounts, storing property, and other administrative
 functions. The administrative trustee’s home office is in Delaware and the administrative trustee, as a federal
 savings bank, is a Delaware citizen for diversity purposes. See 12 U.S.C. 1464(x). The citizenship of a clerical
 administrator, such as Christiana Trust, need not be considered for the purpose of determining whether complete
 diversity exists. See MSR Trust v. Nationstar Mortgage LLC, 2021 WL 4200720, at **6-7 (S.D.N.Y. Sept. 15, 2021)
 (holding that the citizenship of a trustee who does not have legal or beneficial ownership of the trust’s property is
 not relevant in determining whether diversity jurisdiction exists). However, even if considered, the administrative
 trustee’s citizenship — Delaware — does not defeat diversity jurisdiction.
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children of Joseph J. Sitt, all of whom are New York residents and domiciliaries. Therefore, for
purposes of diversity jurisdiction, the citizenship of the plaintiff limited liability company is New
York and New Jersey.

        There is a split among the courts in this district in determining the citizenship of a trust.
Some courts look only to the citizenship of the trust’s beneficiaries, while others to the trustees’
citizenship, and still others take a dual trustee-beneficiary approach. See e.g. Nomura Asset
Acceptance Corp. Alternative Loan Trust, Series 2007-1 v. Nomura Credit & Capital, Inc., 27 F.
Supp. 3d 487, 490-92 (S.D.N.Y. 2014) (“[T]he question becomes: in determining the citizenship
of a trust, should courts look to the citizenship of the trustee or the citizenship of the
beneficiaries? The Second Circuit has not spoken on the question. And courts within this district
are split on this exact question.”) (internal citations, alterations, quotations, and footnote
omitted); Mills 2011 LLC v. Synovus Bank, 921 F. Supp. 2d 219 (S.D.N.Y. 2013); Manufacturers
and Traders Trust Co. v. HSBC Bank USA, N.A., 564 F. Supp. 2d 261 (S.D.N.Y. 2008).
Regardless of the precise approach, however, there is diversity of jurisdiction here because, as set
forth below, defendants are citizens of California and Canada

Defendants’ Citizenship

         According to public filings: (i) Defendant Future Transactions Holdings, LLC (“Tenant”)
is an Illinois limited liability company; (ii) Tenant’s sole member is defendant MM Enterprises
USA, LLC (“MM”); (iii) MM is a Delaware limited liability company whose sole member is
defendant MedMen Enterprises, Inc. (“MedMen”); and (iv) MedMen is a Canadian corporation
incorporated in British Columbia, with its principal place of business at 10115 Jefferson Blvd.,
Culver City, CA 90232. Therefore, for purposes of diversity jurisdiction, the citizenship of
defendants is California and Canada.

Conclusion

         Plaintiff respectfully submits that there is complete diversity of citizenship between the
adverse parties in this lawsuit. This is an action between citizens of different states, or citizens of
a state and citizens of a foreign state. The sum in controversy exceeds $75,000.00, exclusive of
interest and costs. Accordingly, this Court has subject matter jurisdiction pursuant to 28 U.S.C. §
1332(a)(1) or (a)(2).



                                                               Respectfully submitted,

                                                               Joseph Lee Matalon

                                                               Joseph Lee Matalon
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                  Organizational Chart
                942‐44 W. Fulton, Chicago

                          DSFT 2011 Family Trust

                           100%
   Morris Missry
                           DSFT Holdings LLC
   Non‐Member
   Manager
                           100%



                     Thor Design District MM LLC
                             (Delaware)
                                  100%



                      Thor 942 Fulton Street LLC
                             (Delaware)
                        100%




                   942‐44 W. Fulton, Chicago, Illinois
